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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


    IN RE: FEMA                                                                      MDL NO. 1873
    FORMALDEHYDE
    PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                          JUDGE ENGELHARDT


    THIS DOCUMENT IS RELATED TO:
    Catherine Mayes and James W. Mayes, et al
    v Frontier RV, Inc., et al., Case No. 2:10-cv-480

    ______________________________________________________________________________

                                       ORDER
    ______________________________________________________________________________

            Considering the foregoing Second Motion of Plaintiffs, Plaintiffs are allowed until

    August 2nd, 2010, or until __________________, 2010, to serve the Defendants.

            IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Second Motion

     for Extension of Time to Serve.
Hello This is a Test
            DATED this22nd             June
                       ____ day of _______________, 2010 in New Orleans, Louisiana.



                                                 By:     ____________________________________
                                                         KURT D. ENGELHARDT
                                                         UNITED STATES DISTRICT JUDGE


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